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                           UNITED STATES DISTRICT COURT
                                DISTRICT OF MAINE


  PATRICIA MCBREAIRTY            )
                                 )
  v.                             )    CIVIL NO. 1:24-cv-00053-LEW
                                 )
  BREWER SCHOOL                  )
  DEPARTMENT, et al              )

                                     PROCEDURAL ORDER

        The Notice of Intent to File Summary Judgment Motion and Request for Pre-
 Filing Conference having been filed in accordance with Local Rule 56(h), it is hereby
 ordered that all pending deadlines set forth in the Scheduling Order are hereby STAYED
 until further order of this Court.
        In order for the Court to determine the appropriate scheduling for any conference
 and the most efficient process for briefing the contemplated motion for summary
 judgment, the following process shall be followed in this case:
        The parties shall confer in good faith and determine whether any agreements can
 be reached that would narrow the legal issues or limit any factual disputes for purposes
 of summary judgment. The parties shall specifically discuss whether it is possible to
 present a joint record and/or any stipulations in accordance with Local Rule 56(g) and
 additionally discuss whether or not either party intends to file any Daubert and/or
 Kumho motions as well as the issues, timeliness and length of such Daubert and/or
 Kumho motions.
        After conferring, each party intending to file a motion for summary judgment
 (“movant”) shall file a short memorandum, not to exceed seven double-spaced pages, that
 includes the following:
        (1) BASIS: What counts, counterclaims or affirmative defenses the movant
            intends to move for summary judgment.

        (2) ISSUES: A brief list of the legal issues that will require summary judgment,
            including any particularly relevant case or statutory citations, and how the
            facts are undisputed on the issue in question.
        (3) DAUBERT/KUMHO MOTIONS: If any Daubert/Kumho motions are
            anticipated, a brief explanantion of the issues to be addressed by such motions.
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       (4) ESTIMATED MEMORANDUM LENGTH: An estimated page length for
           any to-be-filed motion. To the extent the movant expects to exceed the default
           20 page maximum in Local Rule 7(e), the movant shall ensure that its pre-
           conference filing provides good cause for granting a larger page limit.

       (5) ESTIMATED FACTUAL STATEMENT LENGTH: An estimate of the
           number of statements of material fact to be filed in accordance with Local Rule
           56(b).

       (6) ESTIMATED RECORD: To the extent that the Statement of Material Fact
           will be supported by to-be-filed portions of the record, a brief description of
           what will be filed (e.g., declarations, deposition excerpts, contracts, other
           documentary evidence, etc.) and an estimate of the total number of pages to be
           filed.

       (7) TIME: The earliest date that the movant anticipates being prepared to file
           the motion. To the extent that the movant anticipates needing more than 30
           days from the time of filing this memoranda to file its initial motion papers or
           more time for completing briefing than is allotted under Local Rule 7, the
           movant shall provide good cause for extending the briefing deadlines.

       (8) AGREEMENT OF THE PARTIES: An affirmation that the parties have
           conferred in accordance with this Order and any agreements reached as a
           result.

       This pre-conference filing shall be made no later than January 17, 2025.
       A party that will only seek to oppose summary judgment need not make any pre-
 conference filing.   To the extent any nonmovant wishes to make a responsive pre-
 conference filing, the nonmovant may do so within seven days of the movant’s filing of
 the required pre-conference memorandum. Any pre-conference memorandum by a
 nonmovant shall not exceed seven double-spaced pages and shall include:
       (1) ISSUES: A brief list of any additional legal issues that will be raised in
           opposing summary judgment, including any particularly relevant case or
           statutory citations. What, if any, material facts are genuinely in dispute. To
           the extent the nonmovant anticipates opposing summary judgment pursuant
           to Federal Rule of Civil Procedure 56(d), the nonmovant shall indicate what
           essential facts are needed to justify its opposition.
       (2) DAUBERT/KUMHO MOTIONS: If any Daubert/Kumho motions are
           anticipated, a brief explanantion of the issues to be addressed by such motions.

       (3) ESTIMATED MEMORANDUM LENGTH: An estimated page length for the
           response. To the extent the party expects to exceed the default 20 page
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           maximum in Local Rule 7(e), the party shall ensure that its pre-conference
           filing provides good cause for granting a larger page limit.

       (4) ESTIMATED FACTUAL STATEMENT LENGTH: An estimate of the
           number of additional statements of material facts to be filed in accordance with
           Local Rule 56(c).

       (5) ESTIMATED RECORD: To the extent that the Opposing Statement of
           Material Fact will be supported by additional to-be-filed portions of the record,
           a brief description of what will be filed (e.g., declarations, deposition excerpts,
           contracts, other documentary evidence, etc.) and the estimated number of
           additional pages the nonmovant would file.

       (6) TIME: To the extent that the nonmovant anticipates needing more time for
           responding to the motion than is allotted under Local Rule 7(b), the nonmovant
           shall provide good cause for extending the deadline and propose an alternative
           deadline for the filing of the response.

       (7) AGREEMENT OF THE PARTIES: To the extent that a nonmovant believes
           that the prior preconference filings do not contain an accurate summary of the
           agreements reached, the nonmovant shall specifically indicate those
           inaccuracies.

       No pre-conference memoranda filed pursuant to this Order shall be deemed
 binding on the parties. Parties are encouraged to indicate in their respective pre-
 conference filings their position on whether a conference with the Court is necessary.
 Parties are hereby notified that upon review of the filings made pursuant to this Order,
 this Court may determine that no pre-filing conference is necessary and thereafter issue
 an order setting deadlines and page limits for the proposed summary judgment
 motion(s). Alternatively, the Court will schedule a Local Rule 56(h) Pre-Filing
 Conference if it determines that such a conference will lead to a more efficient summary
 judgment process.
       SO ORDERED.


                                                            /s/ Lance E. Walker
                                                         Chief U.S. District Judge


 Dated: January 10, 2025.
